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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0888V
                                      Filed: July 19, 2019
                                        UNPUBLISHED


    JUANITA CRUEY,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Influenza
    SECRETARY OF HEALTH AND                                  (Flu) Vaccine; Guillain-Barre
    HUMAN SERVICES,                                          Syndrome (GBS)

                       Respondent.


Shealene Priscilla Mancuso, Muller Brazil, LLP, Dresher, PA, for petitioner.
Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On June 29, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that hat she suffered Guillain-Barre Syndrome (“GBS”)
resulting from an influenza (“flu”) vaccine she received on December 3, 2015, and that
she suffered the residual effects of this injury for more than six months. Petition at 1, 4;
Stipulation, filed July 15, 2019, at ¶ 4. “Respondent denies that petitioner sustained a
GBS Table injury; denies that the vaccine caused petitioner’s alleged GBS, or any other
injury; and denies that her current condition is a sequelae of a vaccine-related injury.”
Stipulation at ¶ 6.



1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on July 15, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $87,500.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                               )
.ruANIT A CRUEY,                               )
                                               )
        Petitioner,                            )       No. l 7-888V (ECF)
                                               )       Chief Special Master Dorsey
v.                                             )
                                               )
SECRETARY OF HEALTH AND                        )
HUMAN SERVICES,                                )
                                               )
       Respondent.                             )


                                          STIPULATION

       The parties hereby stipulate to the following mattets:

        1. Petitioner, Juanita Cruey, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of the influenza

("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. §

100.3 (a).

       2. Petitioner received a flu vaccine on or about December 3, 2015.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered GuiUain-Barre Syndrome ("GBS") within the time

period set forth in the Table, or in the alternative, that her GBS was caused by the flu vaccine. She

further alleges that she suffered the residual effects of this injury for more than six months.

       S. Petitioner reptesents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.




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        6. Respondent denies that petitioner sustained a GBS Table irtjury; denies that the vaccine

caused petitioner's alleged OBS, or any other injury; and denies that her current condition is a

sequelae of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(aX1), the Secretary of Health and Human Services will issue the

following vaccine compensation payment:

               A lump sum of $87,500.00 in the form of a check payable to petitioner, representing
               compensation for all damages that would be available under 42 U.S.C. § 300aa-
               15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

§ 300aa-21 (a)( 1). and an application. the parties will submit to further proceedings before the chief

special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that they have identified to respondent all kno·wn

sources of payment for items or services for which the Program is not pdmadly liable under 42

U.S.C. § 300aa-1S(g), including State compensation programs, insurance policies, Federal or State

health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. § 1396 et

seq.)), or entities that provide health services on a prepaid basis.




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        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 will be made in accordance with 42 U.S.C. § 300aa-15{i), subject to the

availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, the money provided pursuant to this Stipulation will be used

solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. § 300aa-

15(a) and (d), and S\.lbject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her individual

capacity, and on behalf of her heirs, executors, administrators, successors, and assigns, does

forever irrevocably and unconditionally release, acquit and discharge the United States and the

Secretary of Health and Human Services from any and all actions or causes of action (including

agreements, Judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in the

United States Court of Federal Claims, under the National Vaccine Injury Compensation Program.,

42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the flu vaccination administered on or about December 3, 2015, as

alleged by petitioner in a petition for vaccine compensation filed on or about June 29, 2017, in the

United States Court of Federal Claims as petition No. 17-888V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

       15. If the chief special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the United States Court of Federal Claims fails to enter judgment in


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conformity wHh a decision that is in complete conformity with the terms of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or do any act or thing other than is herein expressly stated and

clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Hwnan Services that the flu vaccine caused petitioner's alleged GBS or

any other injury or any of her alleged current disabiHties.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




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Respectfully submitted,


PETITIONER:




ATTORNEY OF RECORD FOR                             AUTHORIZED REPRtSENT ATIVE
PETITIONER:                                        OF THE ATTORNEY GENERAL:


~AWM~
SALENE   MANCUSO, ESQ.
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AUTIIORlZED REJ:>RESENTATIVE OF                    ATTORNEY OF RECORD FOR
THE SECRETARY OF HEALTB AND                        RESPONDENT:
HUMAN SERVICES:



TAMARA OVERBY
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Dated;   _1_/15_["-/1_
                    - - S.

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